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17                            UNITED STATES DISTRICT COURT

18                         NORTHERN DISTRICT OF CALIFORNIA

19                                     OAKLAND DIVISION

20                                                    Case No. 4:20-cv-05640-YGR-TSH
21

22     EPIC GAMES, INC.,
                                                      EPIC GAMES, INC.’S NOTICE OF
23                      Plaintiff, Counter-defendant, SUBMISSION OF REDACTED
                             v.                       VERSION OF WRITTEN DIRECT
24                                                    TESTIMONY OF NED S. BARNES,
       APPLE INC.,                                    CPA (EX. EXPERT 2)
25
                        Defendant, Counterclaimant.   The Honorable Yvonne Gonzalez Rogers
26
                                                      Trial: May 3, 2021
27

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     EPIC GAMES, INC.’S NOTICE OF SUBMISSION OF REDACTED VERSION OF WRITTEN
              DIRECT TESTIMONY OF NED S. BARNES, CPA (EX. EXPERT 2)
                            Case No. 4:20-cv-05640-YGR-TSH
              Case 4:20-cv-05640-YGR Document 556 Filed 04/30/21 Page 2 of 2

 1            PLEASE TAKE NOTICE that pursuant to Local Civil Rule 79-5(f)(3), Epic Games,

 2   Inc. hereby submits for the public record a revised redacted version of the Written Direct

 3   Testimony of Ned S. Barnes, CPA (Ex. Expert 2), in accordance with Pretrial Order No. 8

 4   (ECF No. 548). This submission replaces the filings originally made at ECF Nos. 508-2 and

 5   509-6.

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 7
      Dated: April 30, 2021                     CRAVATH, SWAINE & MOORE LLP
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12
                                                Respectfully submitted,
13                                              By: /s/ M. Brent Byars
                                                     M. Brent Byars
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                                                     Attorneys for Plaintiff and Counter-defendant
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                                                     Epic Games, Inc.
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      EPIC GAMES, INC.’S NOTICE OF SUBMISSION OF REDACTED VERSION OF WRITTEN
               DIRECT TESTIMONY OF NED S. BARNES, CPA (EX. EXPERT 2)
                             Case No. 4:20-cv-05640-YGR-TSH
